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9                              IN THE UNITED STATES DISTRICT COURT

10                          FOR THE EASTERN DISTRICT OF CALIFORNIA

11   UNITED STATES OF AMERICA,

12                   Respondent,                             No. 2:05-cr-0113 LKK JFM

13           vs.

14   SERGIO CURIEL, SR.,

15                   Movant.                                 ORDER

16                                                  /

17                   Movant, a federal prisoner proceeding pro se, has filed an amended motion to

18   vacate, set aside, or correct his sentence pursuant to 28 U.S.C. § 2255. Since movant may be

19   entitled to the requested relief if he can establish a violation of his constitutional rights,

20   respondent is directed to file an answer within thirty days of the effective date of this order. See

21   Rule 4, Rules Governing Section 2255 Proceedings.

22                   Respondent shall include with the answer any and all transcripts or other

23   documents relevant to the determination of the issues presented in the motion. Rule 5, Rules

24   Governing Section 2255 Proceedings. Movant’s traverse, if any, is due on or before thirty days

25   from the date respondent’s answer is filed.

26   /////

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1                         The Clerk of the Court shall serve a copy of this order, together with a copy of

2    movant's motion, on the United States Attorney or his authorized representative.

3    DATED: September 19, 2008.

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     /001; curi0113.206
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